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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA            :
                                    :
                                    :           19-cr-850 (JSR)
          -v-                       :
                                    :
PARKER H. PETIT and WILLIAM TAYLOR, :           MEMORANDUM ORDER
                                    :
                                    :
               Defendants.          :
------------------------------------x

JED S. RAKOFF, U.S.D.J.

     On October 13, 2020, defendants Parker H. Petit and William

Taylor filed this joint motion to compel clarification of prior

witness statements contained in the Government’s recent

disclosure under 18 U.S.C. § 3500 (“3500 materials”). Dkt. No.

80. For the reasons set forth below, the motion is granted in

part and denied in part.

     By way of background, the Government provided its 3500

materials, along with a witness list, on September 21, 2020.

Defense counsel complains, however, that the vast majority of

the 3500 materials are in the form of “informal, cryptic

typewritten or handwritten notes” that are difficult to

understand. See Defendants Parker H. Petit and William Taylor’s

Memorandum of Law in Support of Joint Motion to Compel

Clarification of Prior Witness Statements (“Def. Mem.”), Dkt.

No. 81, at 5. The motion raises three issues.



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     First, the parties disagree over the scope of the

Government’s responsibility to help the defense make sense of

the 3500 materials. The defendants request that the Court order

the Government to provide certain clarifications regarding the

meaning of its 3500 materials. In particular, defense counsel

says that certain documents: (1) make it impossible to know

whether some statement is attributable to the interviewee or the

interviewer; (2) contain contradictory statements without

explanation; or (3) are impossible to fully understand without

additional information. Def. Mem. at 7-11. The Government

responds that while it is willing to interpret unclear acronyms

or illegible words, as the Court previously ordered it to do

with respect to its Brady disclosures,1 it does not have an

obligation to provide a narrative account of the notes.




1    Specifically, when faced with a similar issue with the
Government’s Brady materials, the Court observed that the
defense was asking for the Government to “flesh[] out whatever
the note-taker meant by the notes taken” and that, if such a
request were to be made with respect to 3500 materials, it
“would be an automatic” for the Court to order the Government to
“tell [Defendants] what [their notes] mean[].” Transcript dated
January 23, 2020 (“Tr.”), Dkt. No. 32, at 21:2-12. However, the
Court explained that it was not convinced that the defense was
“entitled to . . . a more generalized narrative.” Id. at 21:14-
18. Ultimately, the Court ordered the Government to “translate
any of the abbreviations or clarify any of the ambiguities and
provide all the specifics that might not be crystal clear from
the words themselves . . . .” Id. at 25:14-21.

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     After carefully reviewing the parties’ submissions, the

Court orders the Government to clarify, at defense counsel’s

request, whether particular statements in the 3500 materials are

statements from the witness, the Government’s interpretation or

summary of what the witness said, or statements made by the

Government during questioning. After all, the requirement to

turn over prior witness statements would be rendered nugatory if

those statements could be hidden away or otherwise obscured.

However, the Government is not required to clarify for the

defense those portions of the 3500 materials that supposedly

contain contradictory statements or that are supposedly

impossible to fully understand without additional information.

So long as the defense is able to identify the prior witness

statements and those statements are legible and decipherable on

their face, the Government is not further required to provide a

generalized narrative of the information contained in the 3500

materials.

     Second, the defense requests that the Court order the

Government to provide a table of the production Bates number for

every document shown to a witness as reflected in the 3500

materials. While the Government has been willing to respond to

individual inquiries, defense counsel is concerned that asking

about particular documents would reveal defense strategy. The

Government responds that the defendants have already received

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“metadata” with the information necessary to identify any

documents referenced in the 3500 materials and that producing

defense’s requested information would be unduly burdensome.

Defense counsel represents, however, that the “metadata” has not

consistently enabled them to identify certain documents. Based

on that representation, the Court orders the Government provide

to defense counsel a table of production Bates numbers for every

document shown to the witnesses as reflected in the 3500

materials.

     Finally, defense counsel requests that the Court order the

Government to disclose the authors of each of the roughly 400

records in the 3500 materials. Because the Government has since

agreed to provide this information, see Government’s Memorandum

of Law in Opposition to the Defendants’ Motion to Compel

Clarification of Prior Witness Statements, Dkt. No. 89, at 12-

13, the Court denies this request as moot. 2

     Mindful, however, that the Government is not strictly

speaking required to turn over any 3500 materials until after a

witness has testified, see United States v. Percevault, 490 F.2d


2    The defense also complains that the Government’s 3500
materials revealed that the Government failed to make timely
Brady disclosures. Def. Mem. at 2-3. The Government disputes
that this is so. Gov. Mem. at 14 n.7. However, the defense does
not seek any specific relief from the Court and instead simply
suggests that the Government’s failure to make timely Brady
disclosures “heightens” their need for the above-described
relief.
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126, 129 n.4 (2d Cir. 1974), the Court grants the Government

until Saturday, October 24, 2020, to complete each of the above-

ordered tasks. The Clerk of the Court is directed to close

docket entry number 80.

  SO ORDERED

Dated:      New York, NY
            October 19, 2020




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